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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



 UNITED STATES OF AMERICA                           Criminal No. 1:23-CR-00323

        v.

 MICHAEL GEORGE VERZALENO, JR.,
 MICHAEL G. VERZALENO, SR.,
 SUSAN P. CARRANO

        Defendants.



MOTION FOR ENTRY OF STIPULATED ORDER REGARDING CONFIDENTIALITY
           OF THIRD-PARTY SUBPOENA RETURN MATERIALS
       Defendants Michael George Verzaleno, Jr., Michael G. Verzaleno, Sr., and Susan P. Carrano

(“Defendants”), by and through their undersigned counsel, hereby move the Honorable Court

pursuant to Federal Rule of Criminal Procedure 16(d)(1) to approve and enter the parties’

Stipulated Order Regarding Confidentiality of Third-Party Subpoena Return Materials, attached

hereto as Exhibit A.

       WHEREFORE, the parties respectfully request that the Court enter the attached Stipulated

Order Regarding Confidentiality of Third-Party Subpoena Return Materials.

Dated: October 10, 2024                         Respectfully Submitted,




                                                Zach Intrater, Esq.
